 

IN THE UNITED S'I`A'I`ES ])IS'I`RICT COURT
WES'I`ERN DISTRIC'I` OF MISSOURI, CENTRAL DIVISION

Christine Comas et al,
Plaintifl`s,
No. 2-10~cv-04085-M.]W

\".

Keith Schafer, Direetor, etc.

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Defendants.
SE’ITLEM”ENT AGREEMENT

WHEREAS, plaintiffs Who are described below, have filed a class action lawsuit
(“Lavvsuit”) against defendants, Who are also described below;

_ WHEREAS, the Lawsuit challenges, as violative of Title ll of the Americans with
Disabilities Act, 42 U.S.C.§§12131»12134 (“AD ”) and Section 504 of the Rehabilitation Act of
1973, '29 U.S.C.§794 (“RA”), interrelated policies, practices, procedures, customs and usages
(collectively, “policies and practices”) of the defendants concerning the delivery of mental health
services to deaf persons in Missouri;

t WHEREAS, the challenged policies and practices are, it is alleged, ones that subject
plantst to substantial and continuing injury;

WHER_EAS, defendants have denied and continue to denyr all of plaintif€s’ allegations of
violations of law and of injury, and make no admission of Wrongdoing and no admission of
liability in the Lawsuit;

WH.EREAS, plaintiffs and defendants have a shared interest in ensuring the delivery of
mental health services to plaintiES in a manner respecting their rights under the ADA and the

RA;

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WHEREAS, 28 C. F. R. §35.130(£))(1)(i)-(iii) states that a public entity (as delined in the
ADA), in providing any aid, benefit and service, “may not, directly or through contractual,
licensing, or other arrangements, on the basis of disability-

(i) Deny a qualified individual with a disability the opportunity to participate in or
benetit_from the aid, benefit or service;

(ii) Afford a qualified individual With a disability an opportunity to participate in or

benefit from the aid, benefit or service that is not equal to that afforded others;

(iii} Provide a qualified individual with a disability With an aid, benefit, or service that _

is not as effective in affording equal opportunity to obtain the same result, to gain the same
benefit, or to reach the same level of achievement as that provided to others.”

`\VI'IEREAS, plaintiffs and defendants, to further their described shared interest and to
avoid the substantial burden and uncertainty of prolonged litigation, have decided to resolve the
differences the Lawsuit has put at issue by entering into this settlement agreement
(“Agreement” ;

WHEREAS, by entering into the Agreernent, defendants make no admission of
. wrongdoing and no admission of liability in the Lawsuit and neither the Agreernent nor the
court’s approval of the Agreement, if any, may be construed as an adjudication of defendants’
liability in the Lawsuit,

Plaintift`s and defendants hereby agree as follows:

I. Jurisdiction and Venue
l. lfthe court approves the Agreement pursuant to Fed. R. Civ. P. 23(e), the parties

anticipate that the order approving it vvill find that the court has jurisdiction over the Lawsuit

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pursuant to 28 U.S.C.§§133l, 1343{3)(4], and that venue is proper in the Western District of
M.issouri pursuant to 28 U.S.C.§ 1391.
]_I. Definiticns

l. As used herein, the following terms have the meanings indicated

(a) “adrninisn‘ative agents,” means community mental health centers (including
affiliated centers) throughout Missouri with which DMH contracts to provide mental health
services to plaintiffs (There are currently 25 such administrative agents in Missouri, associated
with 25 service areas that the DMH has established).

(b) “ASL iluent” or “ASL fluency” means any one or more of the following measures
or attestations of fluency in American Sign Language: (i) for elinicians, an “advanced” or higher
rating standard rS-ign- Language Pronciency lnterview, see http://www.rit.edufntidfslpi/; (ii) for
non-clinicians, an intermediate or higher rating on the standard SLPI rating scale, see id.;. (iii) for
clinicians and non»clinicians, graduation horn any post-secondary educational program, such as
one at Gaullaudet University, that uses sign language as a primary language of instruction or
being prelingually deaf and using ASL as their primary language; (iv) written attestations of ASL
fluency by two individuals who have an advanced plus or higher rating on the standard SLPI
rating nscale,-or who are certified as a sign language interpreters at level 4 or 5 by the Missouri
Cornmission on die Deaf, or who are prelingually deaf instructors of ASL, or who are graduates
of any post-secondary educational program, such as one at Gallaudet University, that uses sign
language as a primary language of instruction, or who are prelingually deaf and use ASL as their
primary language The attestations shall be based on these individuals’ in person or videophone

conversation in ASL (of not less than 15 minutes duration) with a person seeking recognition by

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the DMl-I defendants as ASL fluent, the attestation being that, in the opinion of the attesting
_ individual, the individual seeking recognition is ASL tluent.

(c) “category of mental health service” means one of the following five such services:
an initial assessment including diagnosis; a periodic reassessment; a case management service,
including treatment planning and discharge plannjng; an individual
psychotherapy/psychoeducational session; a group psychotherapy/psychoeducational session

(d) “clinician” means a qualified mental health professional as defined in 9 CSR 10-
7.140 (QQ).

(e) “community placement,” means a residential facility operated by DMH or an
administrative agent, at Which one or more plaintiffs reside;

(i) The parties having consented, pursuant to 28 U.S.C. §636 (c), to the exercise of
any and all proceedings in this civil matter by Maglstrate ludge Matt Whitworth, of the United
States District Court for the Western District of Missouri, and the case having been reassigned to
him, “court” means Judge Whitworth or his successor as a Magistrate Judge ofthe United States
District Court for the Western District of Missouri.

(g) “deafuess” means an inability, because of a hearing loss, to discriminate speech
when spoken in a normal conversational tone regardless of the use of amplification devices

(h) “defendants” mean the'DMl-I defendants and the DSS defendants, as described in
1§}11.3 below.

aj ' n “DMH facilities meese any realities enemy eperetea by num, ir such feeuiaee
are ones providing outpatient or inpatient mental health services to plaintiffs

{j} “ident:ify,” when used with respect to staff at DMI-l facilities and administrative

 

 

 

agents, other than qualified interpreters, means to designate the person by name, job title, and
DMH facility or administrative agent (including address) with which the person is associated
“ldentify,” when used with respect to staff at community placements, means to designate the
person by name, job title, community placement (including address) with which the person is
associated “ldentify,” when used with respect to qualified interpreters, means to designate the
person by name and, if the interpreter afEliated with a sign language interpreter agency, by the
name of that agency and its address.

(k) “interpreter category of care cornmunications” means communications between
clinical or other staff of a DMH facility or administrative agent and a plaintiff when the
communications attend a category of mental health service.

- (1) “mental health scrvices,” means any and all services for the diagnosis andfor
treatment of a plaintiffs mental illness, as authorized by rules promulgated by DMH in the Code
of State Regulaticns. - 7 7

(m) “onset reporting date” means the first day of the calendar month following the
effective date of the Agreement.

(n) “plaintiffs” means all members of the plaintiff class, as defined in Exhibit A, and
the Missouri Association of the DEAF (“MoAD”), except that nothing in the Agreement should
be construed as defendants’ agreement to provide mental health services to MoAD as an
organization The definition of the plaintiff class in Exhibit A is as follows.

All persons residing in Missouri on or after April 26, 2005 who: (a) have been,

are, or will be deaf`,,that is, are persons who because of a hearing loss, are not able

to discriminate speech when spoken in a normal conversational tone regardless of

the use cf amplification devices; and (b) have been, are, or will be eligible for

services, from or through the Missouri Departrnent of Mental Health andfor the
Missouri Department of Social Services (including from administrative agents of

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DMH), that diagnose mental illness and/or treat it.

(0) “Qualified luterpreters” means ASL interpreters certified at levels 4 or 5 by the
Misscuri Cornmission for the Deaf.

(p) “residential placement” means a residential facility licensed, certified, or paid for
(but not loperated) by DMH or an administrative agent at which one or more plaintiH`s reside;

(q) “Specialized Otr|:patient Center” means a program operated by DMH or one or
more administrative agents designated by DMH, which program employs staff specifically
trained regarding the provision of mental health services to deaf consumers, and having the
capacity to provide such services by ASL fluent clinicians and others.

(r) “St. Louis Center” means the St. Louis Psycbiatric Stabilization Center.

(s) “Staf`f” includes employees cf DM[-l facilities or administrative agents or
Specialized Service Centers or Deaf Inpatient Units or community placements or residential
placements (as provided for under the Agreement), but also independent contractors (including
qualified interpreters) affiliated with DMH facilities or administrative agents, cr such Centers or
Units or placements, except if such staff performs solely clerical functions l
I_II. 'I`he Parties

l. The l3rindividual plaintiffs and representative parties, which are or who include
adults and children, are citizens of Missouri who are deaf or hard of hearing (“deaf”) and who
also suffer from mental illness MoAD, a nonprofit corporation, many of whose members are
deaf, is also a plaintiff

2. For settlement purposes only, defendants agree to the certification of a plaintiff

class pursuant to Fed. R. 23(a), (b)(Z) and (c)(l), as defined in the (draft) Order attached hereto

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as Exhibit A, and in ‘[|]l.l (n) above. For settlement purposes only, defendants also agree to the
appointment of three of plaintiffs’ counsel (Kenneth M. Chackes, Robert E. Lehrer, and John J.
Ammann), as class counsel, pursuant to Fed. R. Civ. P. 23 (g).

3. The defendants initially named or Who have been automatically substituted as a
defendant pursuant to Fed. R. Civ. P. 25(d) are: the “DMH defendants,” which are or vvho
include the Missouri Department of Mental Health (“DMH”), its Director, Keith Schafer, in his
official capacity; the “DSS defendants,” which are or vvho include the Missouri Department of
Social Services (“DSS”) and its lnterim I)irector, Brian Kinkade, in his official capacity.

IV. ])efendants’ I)uties Under the Agreement
Coordinator cf the Statewide System of Carc

l. Within nine months of the effective date of the Agreement, unless plaintiii`s’
counsel agree to an extended date, the DMH defendants shall hire either: (a) a full»time State
Coordinator for Deaf Services (“Coordinator”); or two regional coordinators for Deaf Services
(“Regional Coordinators”)-. ill/hether a (single) Coordinator is or two Regional Coordinators are
hired, (s)he or they shall be responsible for coordinating the system of care for plaintiffs

established and maintained under this Agreement. If two Regional Coordinators are hired, they

shall each be responsible for coordination of the system of care for plaintiffs and they shall

confer regularly and otherwise make all reasonable good faith efforts to establish a system of care
for plaintiffs that is uniform throughout the state, insofar as such uniformity is practicable This
coordination responsibility shall include, but not be limited to, the establishment of procedures
facilitating reports to the Coordinator or Regional Coordinators (by a plaintiff or plaintiffs

representative) of alleged departures, in individual cases, from policies and practices provided for

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under the Agreement, and the Coordinator or Regional Coordinators shall investigate such
alleged departures and, if (s)he or they conclude that there have been such departures,
recommend remedial action in the individual case addressing the departure The Cocrdinator
position shall be a full-time position, hill-time meaning that the Coordinator’s responsibility for
coordinating the system of care for plaintiffs established under this Ag;reement shall not be
fractionated to include other responsibilities The Regional Coordinator positions shall be half-
time pcsitions, half time meaning that the Regional Coordinators must spend at least half of the
hours he or she Would spend if the position Were a full time one discharging his or her
responsibilities as a Regional Coordinator. 'l`he Ccordinator or the Regional Coordinators hired
shall report directly to the DMH Deputy Director, who, among other things, is charged with
making all reasonable good faith efforts to establish a system of care for plaintiffs that is uniform
throughout the state, insofar as such uniformity is practicable The Coordinator or the Regional
Coordinators hired must be ASL fluent and have a masters degree in a clinical discipline, with
hiring preference being given to any applicant who has clinical or administrative experience in
the delivery of mental health or other services to deaf persons By agreement with plaintiffs’
counsel, however, based on the number and quality of the applications for the Coordinator or the
Regional floordinator positions, the DM[-l defendants may hire for such a position or positions an
applicant vvho does not meet the minimum requirements for the position set forth in this
paragraph

2. - 'I'he DMH defendants by the DMH Deputy Director, retain full and dual decision
making authority respecting the hiring of the Coordinator or the Regional Coordinators.

l-lowevcr, an individual thm plaintiff MOAD (“MoAD”) designates (“MoAD designee”) shall

 

 

 

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he a member of the Hiring Committee (“Committee”) for the selection of the Coordinator or
Regional Coordinators. The DMH Deputy Director shall name the other members of the
Committee. All members of the Hiring Committee serve at the pleasure cf the DMH Deputy
Director, except that, if the MoAD designee is, for any reason, unable to serve on the Committee,
then MOAD Shall be entitled to designate another MoAD designee acceptable to the DMH
defendants to serve on the Committee. The Committee shall be responsible for reviewing all
applications for the Coordinator and Regional Coordinator positions, for determining Whom to
intervievv, for conducting the interviews and for making recommendations to the DMl-l Deputy
Di_rector (including a recommendation as to whether to hire a single Coordinator or Regional
Coordinators) who, while retaining final decision making authority respecting the hiring of the
Coordinator, is to give substantial weight to the recommendation(s) of the Committee.

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and for the duration of the Agreement, the Coordinator or the Regional Coordinators Gointly),
shall submit to the DMH Deputy Director a Written report on the performance of defendants’
duties tincluding the activities of the Cocrdinator or the Regional Coordinator), under this
Agreement during the preceding calendar year (cr so much of the preceding calendar year that
postdatcs the effective date of the Agreement). The Report should also include any
recommendations of the Coordinator for the more effective and efficient delivery of mental
health services to the plaintiff class, such as the opening of additional facilities or the expansion
of existing ones to serve the plaintiff class, taking into account any financial constraints This
report shall be Served on plaintiffs’ counsel promptly aner its submission to the DMH Deputy

Direetor.

 

 

 

 

Standards of Care

4. Within 120 days of the effective date of the Agreement, the DlVlI-l defendants, by
the DMl-l Deputy Director, shall issue standards of care for the provision of interpreters to
plaintiffs (“Clinical Standards of Care”). The Clinical Standards of Care shall provide that,
except with respect to communications between an ASL fluent clinician or other ASL fluent staff
and a plaintiff, qualified interpreters should be provided when a plaintiff is receiving a category
of mental health service, unless it is determined that a plaintiff does not use ASL to
communicate The Clinical Standards of Care shall take into consideration that not all plaintiffs
use ASL to communicate and that it will be necessary to make reasonable good faith efforts to
provide alternative communication methods for those plaintiffs when receiving a category of
mental health service

5. The C]inical Standards of Care shall be issued as `Department Operating
Regulations (DORS) and, as such, are applicable to all DMH facilities After the issuance of the
Clim'cal Standards of Care, the DM_l-I defendants shall make all reasonable good faith efforts to
ensure obedience to them by the DMI-l facilities 7

6. The Clinical Standards of Care shall be made part of the operating contracts
between DMH and its adininistrativeagents and administrative agents shall be required by such
operating contracts to make the Clinical Standards of Care part of their (the administrative
agents’) operating contracts or agreements with any entity (includi,ng subcontractors and
independent-contractors) that, by agreement with such administrative agents, provides mental
health services to plaintiffs Aher the Clinical Standards of Care are made part of the operating

contracts, the DMH defendants shall make all reasonable good faith efforts to ensure obedience

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to them by the administrative agents and any entity (including subcontractors and independent
conh‘actors) that, by agreement with such administrative agents, provides mental health services
to plaintiffs

7. Only DMH facilities and administrative agents are subject to the Clinlcal
Standards of Care. ` The DMH and DSS defendants shall, within 14 days after issuance of the
Clinical Standards of Care, place and thereafter maintain a notice on their respective websites
that is entitled “Mental I-lealth Services to Medicaid-Eligible Deaf Persons” or “Community
Psychiatric Rehabilitation Program Services to MO Healthl\let Eligible Deaf Persons.” The same
notice shall be included in the Provider Bulletin that first follows the posting of the notices on the
respective rwebsites. Thls notice shall inform the Medicaid providers of the existence of the
Clinical dmndards of Care and of the system for the delivery of mental health services to
plaintiffs maintained pursuant to the Agreement. The notice shall also state that, if a Medicaid
provider is of the view that it is unable to meet the needs of a plaintiE for mental health services,
it may wish to consult with a DMH facility or administrative agent to ascertain whether such a
facility or agent or provider could provide services meeting such needs. The notice on the
respective websites and in the Provider Bulletin shall include links to the names, addresses,
phone numbers and “contact us” e~mail addresses (if any), l of all DM]-I facilities and
administrative agents or the url address at which such names, addresses, phone numbers, and e-
mail addresses may be found
Community-S:ervices

8. Within nine months of the effective date of the Agreement, the DMH defendants

shall open and they shall thereafter maintain a Specialized Outpatient Center and within 18

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months of the effective date of the Agreement, the DMH defendants shall open and they shall

thereafter maintain at least one additional Specialized Outpatient Center. These centers shall be

deemed to have been opened when they are fully staffed and providing mental health services to

plaintiffs

9. The DMl-I defendants shall make all reasonable good faith efforts to ensure that
all clinicians, case managers and case manager assistants at the Specialized Outpatient Center{s)
are ASL fluent, as determined by the DMH defendants pursuant to 111V.17 below. lf the persons
hired for these positions are not ASL tluent, however, they shall he required to complete the Deaf
Services 'l`raining Prcgram described in ‘|I IV.l6(a) below in a timely manner, unless their
completion of all or part of that program is waived pursuant to 111V.17 below on grounds other
than ASL fluency.

10. - 'l`he Specialized Outpatient Center(s) shall provide mental health services on site
to plaintiffs needing them or, to plaintiff octpatients being served by or through administrative
agents, by a tale-health network that the DMH defendants shall maintain, meaning a video
network connecting Aeach administrative agent with the Specialized Outpatient Center(s), by
consumer platforms (such as Sorenson VP 200 or Z-34G) at each such administrative agent

ll. Any plaintiff may seek lot-Itpatient mental health services on site at lthe
administrative agent in his or her service area, or on site at the Specialized Outpatient Center(s).
Plaintiffs seeking outpatient mental health services at an administrative agent may, however, also
elect to receive such services through the Specialized Outpatient Center(s) via the tele"health
network described in the preceding paragraph

12. ]E`cr the duration of the Agreement, the DMH defendants shall facilitate residential

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placements for all plainst for whom such a placement is appropriate To the extent that a
plaintiff desires a community placement and there are available and appropriate community
placements, preference will be given to finding a community placement for eligible plaintiffs
Facilitation of such residential placements may require the establishment of residential
placements not now in existence, and the DMI-l defendants will work with community providers
to establish such additional placements as meet the needs of the plaintiffs and to the extent that

inancial resources permit The DMH defendants shall also afford each plaintiff who is currently

, eligible for services in a community placement ready access to clinicians at the administrative

agent serving the locale of that placement and, through the tele-health network or otherwise, to
clinicians at the Specialized Outpatient Center(s).

13. The DMl-l defendants shall make all reasonable good faith efforts to ensure that
there are staff assigned to each community placement in which a plaintiff resides who are ASL
fluent and shall encourage residential placements tc hire staff that are ASL fluent. lf, however,
no staff assigned to anycommunity placement are ASL fluent as determined by the DMH
defendants pursuant to 1]lV.l7 below, then one among the staH assigned to that placement shall
be required to complete the Deaf Services Training Program described in 111th 6(a) below within
60 days of the day a deaf person first resides there, unless their completion ofall or part of that
program is waived pursuant to 111V.17 below on grounds other than ASL iluency. A community
placement may not be denied to a plaintiff as a means of avoiding the requirement that at least
one among the staff assigned to a community placement in Which a plaintiff resides complete the
Deaf Services Training Program, if no one among the staff assigned to that placement is ASL

fluent. lfthere are no staff assigned to a residential placement who are ASL fluent, the DMH

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defendants will encourage the residential placement to have one among the staff assigned to that
placement complete the Deaf Services Training Prcgrarn described in 11lV.l6(a) below within 60
days of the day a plaintiff first resides there.
In-Patient Care

14. Within nine months of the effective date of the Agreement, the DMH defendants
shall open and thereafter maintain one or more inpatient deaf services units (“lnpatient Deaf
Services Units”), to afford services to plaintiffs requiring acute or long-term care. The DMH
defendants anticipate that all plaintiffs requiring such care will be served by such units, except
for plaintiffs required to be in high security settings or when emergency circumstances make the
provision of such care at such units temporarily impossible lf the beds in such units are also beds
that may be utilized by persons who are not plaintiffs, then plaintiffs shall be afforded equal
access to the beds as persons who are not members of the plaintiff class but are otherwise
similarly situated to plaintlEs in terms of their need for acute or long term care. Ifthe beds in
such units are also beds that may be utilized by persons who are not plaintiffs, then a plaintiff in
need of such a bed may not he denied such a bed unless the unit is at its full capacity. An
lnpatient Deaf Services Unit shall be deemed to have been opened when it is fully staffed and
providing mental health services to plaintiffs 7 ` 7 7

15'-. n The DMH defendants shall make all reasonable good faith efforts to ensure that
all cliniciansr case managers and case manager assistants at the Deaf lnpatient Services Units are
ASL iluent, as determined by the DMH defendants pursuant to 'l[lV.l”/ below, except that, by
agreement with plainan’ counsel, based on the number and quality of the applications for such

positions, the DMH defendants may hire for such positions persons who arenot ASL iluent. If

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the persons hired for these positions are not ASL tluent, however, they shall be required to
complete the Dea;f Services 'l`raining Program training described in 1[IV.16(a) below in a timely
manner, unless their completion of all or part of that program is waived pursuant to jllv. 17 below
on grounds other than ASL iluency.
'I'raining

ld(a) Subject to state procurement laws and practice, including laws and practice
relating to best and Enal offers, amendments to RFPs and rejection of any and all bids, the DMH
defendants shall underwrite and make available to the persons described in subparagraph (b), a
Deaf Services Training Program (“Deaf Services Training Program” or “Training Program”)
described in this subparagraph (a), as approved by the DMl-l defendants, on the following
schedule Within 30 days of the effective date of the Agreement, the DMl-l defendants shall issue
an RFP for the Training Program, requiring bids responsive to the RFP within 30 days thereafter.
The RFP shall solicit bids by persons or entities with experience and expertise in the provision of
training programs for professionals, including clinicians and interpreters, working with deaf
persons The DMI-I defendants shall make a contract award based on the bids within 120 days
after the date timely bids are received, and the start date for training program shall be 60 days
after the contract award.-' The DMH defendants shall select the lowest and best bidder
considering price, experience, expertise and all other evaluation criteria specified in the RFP, to
develop the Training Prcgram if the bid price is reasonable, meaning $20,000 or below. The
Deaf Services Training'l’rogram shall cover the following areas: Deaf Culture; ASL, including
its features, its significance in the deaf community, and the ASL skill variance in the deaf

population; medical and psychosocial aspects of the deaf population; English tluency limitations

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in the deaf community, including speech reading and reading/writing limitations; fund of
information limitations in the deaf community; how diagnosis treatment effectiveness and
treatment efficacy differ in regard to deaf vs. hearing individuals; effective working relationships
between interpreters and clinicians. The date the Training Program is made available to the
persons required to complete the 'I`raining Program is referred to as the “Training Availability
Datc.” The Training Program, which, subject to the waiver provision at 1]IV. 17 below, must be of
at least 12 hours duration, with components that can be completed in 2 hour blocks, may be
entirely web based, thus avoiding the need for persons required to complete it to travel to distant
locales for in person training or for them or DMH to bear travel and lodging expenses

(b) Except if the DMl-I defendants waive completion of the Training Program
pursuant to 1[[V.l7 below, the following persons shall be required tc complete this program in a
timely manner: ;cliriicians, case managers, case manager assistants, and other non-clerical staff at
a Speoialized Outpatient Centers or the Deaf lnpatient Services Un_its; any staff at a community
placement required to complete the Training Prograrn pursuant to ‘|]IV .13 above. The DMH
defendants may not charge persons required to complete the 'Deaf Services Training Program to
pay for the 'I`raining Prograrn, and, if such persons are full or part time DMH employees must
permit them to complete such training on work time -

(c) The following persons shall be encouraged by the DMH defendants to complete
the Training Program in a timely manner: any clinician providing or wishing to provide mental
health services to plaintiffs and employed by or affiliated with an administrative agent, or the St.
Louis Center. As to the administrative agents, “encouraged” as used in this paragraph means at

least that the DMH defendants shall, by its operating contracts with the administrative agents:

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require the administrative agents themselves to encourage such clinicians timely to complete the
Training Prograrn; forbid the administrative agents nom prohibiting such clinicians from taking
the Training Program; encourage the administrative agents to permit clinicians employed by or
aHiliated with them and electing to complete the Training Program to do so on work time. As to
the St. Lonis Center, “encouraged” as used in this paragraph means at least that the DMI-I
defendants shall, by a communication to the Chief Executive OHicer of the St. Louis Center:
urge the Center to encourage clinicians employed by or affiliated with the Center timely to
complete the Training Program; encourage the Center to permit ciinicians employed by or
affiliated with them and electing to complete the Training Program to do so on work time The
DMH defendants shall also make known the availability of the Training Program by a notice
prominently posted on the DMI-l website with a link to the materials that are publicly available as
described in yie(g) baew. " `

(d) Timely completion of the Training Program by an individual required to complete
it under 1[16(b) above means that the individual complete it within 60 days after the Training
Availability Date, unless the individual starts employment at a Specialized Outpatient Center or
at the Deaf Inpatient Services or community placement on or after the Training Availability Date,
in which case a “tirnely manner” means that the individual so starting employment must
complete the Training Pro gram within 60 days of his or her start date.

(e) Timely completion of the Training Program by a clinician providing or wishing to
provide mental health services to plaintiffs and employed by or affiliated with an administrative
agent cr the St. Louis Ccnter and electing to take the training means that the individual completes

the training within 60 days of the date (s)he elects to do so.

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(f) The DMH defendants shall make all reasonable good faith efforts to ensure that
the following persons complete the Trajning Prograrn in a timely manner: all persons required to
complete the Training Program; all clinicians employed by or affiliated with an administrative
agent or the St. Louis Center who elect to take such training

(g) The DMH defendants shall make the written materials of the Training Program
available to the public on the Dl\/ll-l website and shall include a link to any video content
included in the Training Program.

l7(a) The DMH defendants, by the DMH Deputy Director or the Coordinator or
Regional Coordinators, are charged with determining whether applicants for staff position or
existing staff are ASL fluent in accordance with the criteria set forth in W.l(b) above. The DMl-l
defendants shall post on the DMH website and provide to any individual requesting it,
information about how staff seeking recognition by the DMH defendants as ASL fluent may do
so. To discharge its responsibility to determine ASL fluency among applicants for staff positions
or existing staff, and toy-encourage staH to establish their ASL fluency by achieving the
designated rating (in illl.l(b)(i) and (ii)) on the SLPI rating scale, the DMH defendants may also
connect with persons to administer (at DMH expense) SLPI inn Missouri to applicants for staff
positions or existing staff 7

(b) The DME~I defendants, by the DMH Deputy Director or the Coordinator or the
Regional Coordinators, shall waive completion of the Deaf Services Training Program for all
persons they determine to be ASL fluent in accordance with the criteria set forth in ‘|ll].l(b)
above. They may also waive completion of all or part of the Deaf` Services Training Program for

all persons otherwise required to complete it under this Agreement, if`, in the opinion of said

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DMH Deputy Director or Coordinator or Regional Coordinator, the person seeking a waiver has
already completed substantially similar training or has such substantial experience working with
deaf persons that taking the Training Program is unnecessary or completion of one or more
components but less than all components of the Training Program is appropriate All Waivers
shall be in writing

Interpreters

18. The DMH defendants shall ensure the timely provision of qualified interpreters to
plaintiffs in accordance with the Clinical Staudards of Care (applicable to all DMH facilities and
administrative ag“ents only).

19. When a qualified interpreter is being provided in accordance with the Clinical
Standards of Care, and the plaintiff and the clinician_ or others with whom the plaintiff is
communicating are in the same locale, then the qualified interpreter is expected to be physically
present at that locale. However, if a qualified interpreter cannot be physically present in a timely
manner and the Climcal Standards of Care require that a qualified interpreter be utilized, then the
DMH defendants shall provide, in a timely manner, a qualified interpreter through a Video
Remote Interpreting (“VRI”) system that it shall establish not later than three months following
the effective date of the Agreement, and thereafter maintain such system. The VRI system shall
he such that it shall be avm'lable for use at all DMH facilities and all administrative agents.

20. The DMH defendants shall make available to qualified interpreters, and publicize
among qualified interpreters, a training program underwritten in part and approved by the Dl\/lI-l
defendants and covering the topic of interpreting in mental health settings (“Interpreter 'l`raining

Program”j. Subject to state procurement iaws and practice, including laws and practice relating

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to best and Enal offers, amendments to RFPs and rejection of any and all bids, the DMH §
defendants shall make available to qualified interpreters the lnterpreter Training Program on the
following schedule. Within 30 days of the effective date of the Agreement, the DMH defendants
shall issue an RFP for the lnterpreter Training Program, requiring bids responsive to the RFP
unthin 30 days thereafter. The RFP shall solicit bids for the development of the interpreter
Training Program by persons or entities with demonstrated experience and expertise in the

provision of training interpreters to interpret in mental health settings, the bid from each bidder

being broken down into that for the core component and that for the interactive component as

described below, of the lnterpreter Training Program, and the RFP also providing that the

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successful bidder must identify for DMH all qualified interpreters completing the lnterpreter
rl`raining Prograrn. The DMl-I defendants shall make a contract award based on the bids within
120 days after the date timely bids are received, and the start date for training program shall be
60 days after the contract award. The lnterpreter Training Program must be of at least 30 hours
duration, plus outside readings, and may be entirely web based, thus avoiding the need for
persons required to complete it to travel to distant locales for in person training or for them or
DMH'to bear travel and lodging expenses I-Iowever, this program must allow for on line
discussions among the qualified interpreter trainees and between them and the trainers. The
Interpreter Training Prograrn thus shall have two components: a “core componen ” that each
trainee may complete independently cf all other trainees and an “interactive component” that
involves on line discussions among the interpreter trainees and between them and the trainers

Frorn among the bidders for the interpreter Training Program, the DMl-l defendants shall select

the lowest and best bidder considering price, experience, expertise and all other evaluation

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criteria specified in the RFP, to develop such a Training Program, if the bid price for the core
component is reasonable, meaning $12,000 or below. The successful bidder shall be known as
the “]nterpreter Training Prograin Entity.” The Dl\/.ll-I defendants must underwrite the core
component of the interpreter Training Prograrn, but are not obliged to underwrite the interactive
component of the Program, the cost of which shall be matter of negotiation between the
Interpreter Training Prograrn Bntity and the individual interpreter, except that the cost to each
interpreter for the interactive component is expected to be approximately $600-900. No qualified
interpreter shall be required to complete the interpreter Training Program, but in contracting with
qualified interpreters to interpret for plaintiffs, the DMI-l defendants shall prefer qualined
interpreters who have completed such training over those who have not.

zi. ironng Staii prohibit tile Divin defendants nom providing aj pittman qualities
interpreters in circumstances other than those provided for in such Clinical Standards of Care.
The DMI-l defendants will do so if`, in their discretion, they are of the view that the provision of
qualified interpreters in such other circumstances is necessary to ensure the eHective provision of
mental health services to plaintiffs

22. Any plaintiff may waive the use of a qualified interpreter for specific
communications as to which the Clinical Standa.rds of Care provide forthe use of such an
interpreter, but only by a written waiver, signed and dated by the plaintiff (or the plaintiH’ s
guardian, if any, acting on his or her behalf), which written waiver shall advise the plaintiff of the
provisions of the Cliriical Standards of Care. Any written waiver may be revoked at any time by
a plaintiff or the plaintiffs guardian, but only by a signed and dated written revocation Any

signed and dated written waiver and any signed and dated revocation of a written waiver shall be

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placed in the plaintist medical record
Crisis Line

23. The leadership Through Education and Advocacy for the Deaf lnstitute
(“LEAD”) currently maintains, at its own expense, a 24 hours a day /seven day a week crisis
hotline {“LEAD crisis hotline”) for the deaf accessible by Text Telephone {“TTY”) or voice.

24. The DMH defendants agree to publicize the LEAD crisis hotline to the greatest
extent practicable, especially in the deaf community They shall do so by, among other things:
posting at least three large (large meaning at least 10" x 12") wall posters about it in all DMH
facilities; requiring each DMI-l administrative agent, by provisions included in its operating
contract with DMH, to post at least two large wall posters about it in the main facility of the
administrative agent, and if the administrative agent maintains so-called satellite facilities, and a
large wall poster about it in the satellite facility; encouraging each operator of a community
placement to post at least one large wall poster about it at the placement; encouraging
administrative agents to disseminate, as by printed handouts, information about the crisis hotline;
publicizing the crisis hotline on the DMH website, including providing a link to LEAD’s own
crisis hotline webpage: 7

25. If the LEAD crisis hotline ceases to exist or reduces the frequency of its operation
to less than 24 hours a day/seven days a week, then the DMH defendants shall ensure, though its
administrative agents or otherwise, that, in conjunction with the LEAD crisis ho'tline to the extent
it remains operational, or otherwise, that there is maintained a 24 hours a day/seven day a week
crisis line with an Access Crisis intervention (°‘ACI”) system with TTY capacity and access to

voice interpretation Further, the DM]-l defendants shall publicize the availability of any

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replacement crisis line (including one supplementing the LEAD crisis hotline], to the same extent

and in the same way as they agree to publicize the LEAD crisis hotline.

Construction of Provisions

26. Except as specifically provided otherwise in the Agreement, nothing in it shall be
construed to provide or require any changes to, or shall be construed to modify: any of the
services, eligibility standards, or programs administered by DMH, DSS, the Missouri Medicaid
Progranr (MO HealthNet Program) and/or provided through the MO HealthNet program
(Medicaid program); the authority of DSS, MO HealthNet Division, Financial Services Division,
or DMH to administer the programs ofMedicaid or ofDMH in the manner provided by law.

27. Iffederal or state law is amended in a manner that requires or permits defendants
to adopt a policy cr practice that the Agreement prohibits, and defendants intend (or believe they
are required) to adopt such a policy or practice, or if federal or state law is amended in a manner
that, in defendants’ view, makes compliance with one or more provisions of the Agreement
impractical or impossible, then defendants shall notify plaintiffs in writing of the amendment in
question and of any new policy or practice bearing on the Agreement (including a policy or
practice of non-compliance with one or more provisions of the Agreement) they wish to or
believe they must adopt in light of such amendment Plaintiffs and defendants shall thereafter,
for a period of 30 days after the written notification, attempt to negotiate a resolution of any
differences between them arising out of the amendment giving rise to the notification and
concerning any new policy or practice bearing on the Agreement. If the parties are unable to
reach an agreement within the 30 day time period, and the defendant(s) decide to proceed with

the implementation of the new policy or practice, then the plaintiffs may seek declaratory andfor

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injunctive relief within 30 days of their having received written notification from defendants, or
_ been otherwise advised, of defendants’ decision to proceed with implementation Provided,
however, that, subject to other provisions of this paragraph if plaintiffs do not seek relief against
a new policy or practice that has been the subject of negotiations between the parties for the full
30 day negotiating period (after written notification under this paragraph), within 30 days after
the expiration of such negotiating period, plaintiffs shall be deemed to have consented to the
adoption of such new policy or practice by defendants and such policy or practice shall he
deemed part of the Agreement. Provided further that, if defendants declare their intent to adopt a
new policy or practice bearing on the Agreement sooner than 60 days following the written
notification required under this paragraph or adopt such a policy or practice Within that 60 day
period, then piaintiffs may seek appropriate relief from the court respecting such policy or
practice, at any time aher defendants declare such intent or adopt such a policy or practice
Provided further that, if defendants adopt a new policy or practice bearing on the Agreernent but
do not give plaintiffs Written notihcation of such policy or practice under this paragraph, and
plaintiffs, when the new policy or practice comes to their attention (is discovered by them), are of
the view that the new policy or practice violates the Agreement, then plaintiffs shall have five
years from the date of their discovery of the new policy or practice (or until termination of the
Agreement, if the termination date is sooner than Eve years) to seek appropriate relief from the
court Provided -further, that compliance by the defendants with requirements imposed by a
federal statute or regulation enacted after the effective date of the Agreernent, which
requirements have been determined by the court, shall not be a breach of the Agreement.

Provided fznther,rthat compliance by the defendants with requirements imposed by a state statute

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enacted after the effective date of the Agreement, which requirements have been determined by
the court and are consistent with federal law, shall not be a breach of the Agreement. Provided
further, that if such newly enacted state statute is not specihcally directed to the plaintiff class,
but has broader applicability, then plaintiffs may not challenge the validity of this statute under
the Agreement, but reserve all other remedies to challenge the statute

V. Reporting

l. Following the effective date of the Agreement, the DMl-l defendants shall serve
upon plaintiffs’ counsel the reports described in this 1[V below on the schedule described below.
EXcept as otherwise specified in this §V below, the service date of the reports shall be within 45
days after the close of the relevant reporting period. lf the relevant reporting period (e.g., six
months) goes-past (exceedsj the termination date of the Agreement, then the last report in the
relevant series shall cover that part of the last reporting period through the termination date.

(a) For each six»month period following the onset reporting date, until the opening cf
each Specialized Outpatient Center and each Deaf lnpatient Services Unit, a report describing,
for the preceding six-month period, the steps taken to ensure the timely opening of each such
Center and each such Unit. A final report for each such Center and each such Unit shall be
served within 45 days after the opening of each such Center and each such Unit. 7

(b) In the Erst six-month report as described in W.l(a) above,. copies of the DORS
issued and the contractual amendments entered into pursuant to WIV.S~é above shall be
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(c) For each six-month period following the onset reporting date (with the first report

called for by this provision also covering the days between the effective date of the Agreement

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and the Onset reporting date), and for the dictation of the Agreernent, a report identifying the
persons who completed the Deaf Services Training Program during that period and the persons
for whom waivers were granted during that period, pursuant to 1]IV.17 above This report need
not include persons who accessed the Deaf Services Training Prograrn through the publicly
available link on DMH’s website, but will include all persons who completed the Deaf Services
Training Prograrn using DMI-I’s internal training software

(d) For each six-month period following the onset reporting date (with the first report
called for by this provision also covering the days between the effective date of the Agreement
and the Onset reporting date) and for the duration of the Agreelnent, a report identifying the
qualified interpreters who completed the lnterpreter 'I'raining Prograrn during that period

(e) For each six-month period following the onset reporting date beginning with the
iirst day of the calendar month following the opening of each Deaf lnpatient Services Unit, if the
Deaf inpatient Services Unit is open for part or all of that six-month period (with the first report
called for by this provision also covering the days between- the effective date of the Agre`enlent
and the onset reporting date) and for the duration of the Agreernent, a report that specifies: (i)
the average daily patient census in the Unit, (ii) the number of days, if any, at which the patient
census in the Unit was at or exceeded capacity and what that capacity was; (iii) the average
length of stay in the Unit; (iv) the number of individual (differentiated) plaintiffs Who signed
written waivers of qualified interpreters and how many separate such waivers by all plaintiffs
were signed.

(i) For each six-month period following the onset reporting date beginning with the

first day of the calendar month following the opening of a Specialized Outpatient Center, if the

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Specialized Outpatient Center is open for part or all of that six-month period (with the first report
called for by this provision also covering the days between the effective date of the lAgreernent
and the onset reporting date) and for the duration of the Agreement, a report that specifies: (i)
the number of individual (differentiated) plaintiffs receiving any category of mental health
service, such number to include both plaintiffs receiving such a service through tele-health and
on site; (ii) the mental health services, by number and category of mental health service, provided
to such plaintiffs collectively; (iii) as to the category of individual
psychotherapy/psychoeducational sessions only, the total number of such sessions, broken down
by how many were conducted on site and how many through tele-health; (iv) the number of
individual (differentiated) plaintiffs who signed written waivers of qualified interpreters and how
many separate such waivers by all plaintiffs were signed

(g) For each six-month period beginning with the first day of the onset reporting date
and for the duration of the Agreement, a report, for each administrative agent, that specifies: (i)
the number of individual (diHerentiated) plaintiffs receiving any category of mental health
service, such number to include both plaintiffs receiving such a service through tale-health and
on site; (ii) the mental health services, by number and category of mental health service, provided
to such plaintiffs collectively; (iii) as to the category of individual
psychotherapy/psychoeducational sessions only, the number of such sessions conducted, broken
down by how many were conducted on site and how many through telehealth.

(h) For each six-month period beginning with the onset reporting date, and for the
duration of the Agreement, a report: (i) specifying (by type of community placement, address,

and operator of same) all community placements in which plaintiffs resided for part or all of that

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period; (ii) identifying any ASL fluent staff at each such community placement (iii) identifying
any persons at each such community placement Who completed the Deaf Services Training
Prograrn.

(i) For each six-month period beginning with the first day of the onset reporting date
and for the duration of the Agreernent, a report that speciies, as to the interpreter services
provided during that period, the total numbers of hours and the total dollar amount billed to
DMH.

2. Within 30 days of posting to their website the notice described in 1[W.7 above, the
DSS defendants, by the DMH defendants or otherwise, shall serve upon plaintiffs’ counsel a
declaration attesting that they posted and/or placed (by a link or otherwise) in a Provider Bulletin
the notice described in 1[IV.7 above, and providing a copy of the notice posted and!or placed

VI. Release and Dismissal of Plaintiffs’ Claims, Enforcement cf the Agreement, and
Duratien of the Agreement

1, ln consideration of defendants’ undertakings in the Agreement, plaintiEs agree, as
described below, to: (a) release all of their claims that were presented in the Lawsuit against
defendants (and the State of Missouri, and any current or former employees of the DMH or
DSS); (b) move voluntarily to dismiss all such claims, pursuant to Fed. R. Civ. P. 4i(a(2) (the
“Plule 41 (a)(Z) motion”). . y

2. 7 To effectuate the release and dismissal of plaintiffs’ claims, as described belovv,
'plaintiffs, withinten days after the execution of this agreement, shall file with the court:

(a) an amended motion, pursuant to Fed. R. Civ. P. 23(a) and (b)(2), seeking
certification of a plaintiff class as denned in Ex. A hereto;

(b) a motion, pursuant to Fed. R. Civ. P. 23(e), for tentative approval of the

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Agreement as fair, reasonable and adequate;

(c) a motion, pursuant to Fed. R, Civ. P. Rule 41 (a)(Z), for voluntary dismissal of
all of plaintiffs’ claims in the Lawsuit, by entry of an order finally approving the Agreement
(which Agreement is incorporated into such order) as fair, reasonable, and adequate under Fed.
R. Civ. P. 23(e) and dismissing such claims

3. The effective date of the Agreement shall be the date the court finally approves it,
if it does, pursuant to Fed. R. Civ. P. 23(e), following the fairness hearing that provision requires

4. Effeotive with the court’s final approval of the Agreement, pursuant to Fed. R.
Civ. P. 23(e), plaintiffs shall be deemed to have released all of their claims presented in the
lawsuit against defendants (and the State of Missouri, and any current or former employees of the
DMH or DSS) and all such claims shall be dismissed pursuant to Fed. R. Civ. P. 41(a)(2), by the
entry of a order identical to or substantially similar to the one attached hereto as Exhibit B
(“Exhibit B Order”).

5. Plaintiffs acknowledge that, if their claims are released and voluntarily dismissedg
as sought inlthe motion they are required to tile under ‘\IVI.Q(c) above, then they shall not then be
permitted to reopen any issue resolved by the Agreement, and shall be permitted to enforce the
Agreement (which the court retains jurisdiction to enforce) only insofar as authorized by the
court order dismissing such claims, by such court order, as does the Exhibit B Order,
incorporating the terms of the Agreement into the Order. Plaintiffs also acknowledge that, if a
court Order such as the Exhibit B order is entered, that they will thereafter be barred from filing
suit against any defendant (and the State of Missou.ri, and any current or former employees of

DMH or DSS) based on any class claims, causes of action, demands and rights presented in the

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Lawsuit against defendants and arising prior to the execution of the Agreement.
6. lf plaintiffs are of the view that defendants are in breach of any provision of the

Agreement at §§Il-Vl above, they shall give written notice of the alleged breach to defendants

(by notice served upon their counsel), describing in the notice not only the breach, but the remedy '

sought for it. Within 30 days following notice of the breach, counsel for the parties, together
with, if counsel wish, the parties themselves or their representatives, shall meet in person in an
attempt to resolve differences between the parties respecting the alleged breach. (This initial
meeting between counsel is referred to herein as the “iirst Agreement enforcement meeting”). lf
the first Agreement enforcement meeting is unsuccessful in resolving the differences between the
parties, counsel may conduct such additional Agreement enforcement meetings in person or by
telephone,' as they believe may resolve their differences without the need for a court to decide an
Enforcement lvlotion (see WI.? helow) under the Agreement.

7. If defendants’ alleged breach of the Agreement is not resolved to plaintiffs’
satisfaction within 90 days after they afford defendants written notice of the breach, then
plaintiffs may file with court a motion seeking enforcement of the Agreement (the “Enforcement
Motion”).

8. ny Notwithstanding WVi.é-’i' above, plaintiffs may file a motion seeking enforcement
of the Agreement without having irst given defendants written notice of an alleged breach of the
Agreement, and without a first Agreement enforceth meeting having been conducted,- if they
(piaintiffs), in the motion, allege a substantial breach of or threatened imminent and substantial
breach of, the Agreement that, unless remedied promptly, will cause substantial and inoperable

injury to the plaintiff class as a whole or substantial numbers of plaintiffs Circumstances that

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would warrant the nling of such a motion (“Emergency Enforcement Motion”) would be sudden
or imminent closure of facilities defendants have promised to maintain under the Agreement or
the sudden or imminent cessation of the provision of an entire category of mental health services
to the class of plaintiffs (or substantial numbers of them) specially, the sudden or imminent
cessation of an entire category of mental health services to all persons eligible for DMH services
is not a circumstance warranting the filing of an Emergency Enforcement Motion under this
paragraph

9. The denial or tem)ination of mental health services to individual plaintiffs based
on facts particular to their individual cases (e.g., relating to their diagnosis and the efficacy of
treatment provided them), or facts, if true, that would establish only isolated departures, in
individual cases, nom ongoing DMH policy and practices applicable to plaintiH`s generally, shall
not be deemed to constitute a breach of this Agreement or to constitute circumstances requiring
the conduct of one or more Agreement enforcement meetings or making permissible the nling of
an Enforcement Motion or Emergency Enforcement Motion. Further, nothing in the Agreernent
shall be construed to confer upon an individual plaintiff a remedy in his or her individual case. lf
an individual plaintiff believes that he or she is aggrieved by a decision of one or more of the
defendants-in his or her individual case, the individual plaintiff is relegated to the administrative
and judicial remedies available to him or her, to redress such decisions

lO.' The Agreement shall expire on luly 1, 2016, all obligations under the Agreement
terminating as of that date, unless plaintiffs, by a motion filed not less than 50 days prior to the
luly l, 2016 termination date, shall show good cause why the Agreement should be extended, the

Agreernent, however, to continue in force until the court, by its resolution of said motion or

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otherwise, decides that the Agreement should expire. lt is the parties’ expectation, however, that
the court will decide any timely motion that plaintiffs file to extend the Agreement on or before
the luly 1, 2016 expiration date.

VII. Attoroeys’ Fees, Including litigation Expenses, and Costs.

l. Defendants agree to pay plaintiffs, within 60 days of the execution of the
Agreement, $91,167.60 in litigation expenses and costs inctn'red on or before December 31,
2011.

2. The parties not having reached an agreement as to attorneys’ fees, the fees to be
awarded for plaintiffs’ attorneys’ work on the case, and also the costs and litigation expenses
incurred by plaintiffs on or after January l, 2012 to be awarded, shall be determined by the
following process

(a) Within 21 days of the date the Agreement is executed, plaintiffs shall tile with the
court their motion for attorneys’ fees (“Fee Motion”), together with their suggestions in support
of the Fee Motion (“Opening Suggestions"), the Opening Suggestions not to exceed 15 pages.
The Opening -Suggestions shall include as an Exhibit a Statement (“Fee Staternent”) that
denominates the total amount of the fees claimed by plaintiffs and a summary table giving the
narne, claimed hours, claimed hourly rates, and claimed total of fees sought for each biller
(except that paralegals or law students employed by or affiliated with one of plaintiffs’ attorneys
for Whose work fees are claimed need not be identified by name, but may be identified as a
group). The Fee Statement shall not count against the 15 page limit rl`ogether with the Fee
Motion, plaintiffs shall also Hle with the court the time records on which the Fee Motion is based

(“Time R.ecords”)-that is records itemizing the hours (by biller and date and summary

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description of work) for which fees are sought The close date of the Time Records (“close
date”_) shall not be earlier than 21 days prior to the date the Fee Motion is frled. The Time
Records may he redacted to prevent disclosure of material protected by the attorney client
privilege and the work-product privilege and shall reflect such reasonable billing adjustments as
plaintiffs see tit to make Together with the Fee Mction, plainst shall also file with the court a
summary accounting (“Acccunting”) of such billing adjustments to the Time Records plaintiffs
have made, the Accounting to denominate, by biller, the number of hours excluded in the
exercise of plaintiffs’ counsel‘s billing judgment, and the general bases for the exclusions
Together with the Fee Motion, plaintiffs may also file with the court such other evidentiary
materials, such as declarations of practicing attorneys, as they deem appropriate

(b) n Withjn 21 days after the filing of the Fee Motion, defendants shall be entitled to
take the depositions of up to three of plaintiffs’ attorneys, the scheduling of such depositions to
be by agreement or if no agreement is possible, by written notice to plaintiffs’ attorneys

(c) Defendants shall have 45 days nom the service of the Fee Motion upon them to
file with the court Responsive Suggestions in Opposition to the Fee Motion (“Responsive
Suggesticns”), the Responsive Suggestions not to exceed 15 pages. Defendants may also file
with the court such evidentiary materials in support of their Respcnsive Suggestions as they
deem appropriate, and any such evidentiary materials filed in support shall not count against the
15 page limit

(d) Plaintiffs shall have 21 days from the service of the Responsive Suggestions upon
them to tile Reply Suggestions in Support of the Fee Motion (“chly Suggestions” , the Reply

Suggestions not to exceed 10 pages. Together With the Reply Suggestions, plaintiffs shall file

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With the court their time records covering the period since the close date (“Supplernental Time
Records”), and a supplemental bill of costs and litigation expenses covering the period on or alter
lanuary l, 2012 only (“Supplemental Bill of Costs and Litigation Expenses”), provided,
hcwever, that the only costs and litigation expenses that may be claimed for this period are:
printing/photcopying costs (capped at 5 cents a page for printing/copying costs born internally by
plaintiffs’ attorneys’ offices); travel (including lodging) expenses; and postage and courier
service expenses Together with the Supplemental Time Reccrds, plaintiffs shall file a
Supplemental Fee Statement that denominates the total amount of the fees claimed by plaintiffs
for their work on or after the close date and a summary table giving the name, claimed hours,
claimed hourly rates, and claimed total of fees sought for each biller for their work after the close
date (except that paralegals or law students employed by or affiliated with one of plaintiffs’
attorneys for whose work fees are claimed need not be identified by name, but may be identified
as a group). The iling of the Supplemental Flime Records and the Supplemental Fee Statement
shall constitute plaintiffs’ claim for fees in connection with work undertaken after the close date
(“Supplemental Claim for Fees”).

(e) 7 If defendants object to either the Supplemental Bill of Costs and litigation
Expenses or the Supplemental Claim for Fees, they may tile, within seven days of the filing of
the Supplemental Bill of Costs and Litigation Expenses and the Supplemental Claim for Fees,
their suggestions in opposition to one or both lilings, such suggestions in opposition not to
exceed five pages. No reply to such suggestions in opposition may be Eled by plaintiffs without
prior leave of court, for good cause shown.

(i) t The court may schedule an oral argument or conduct an evidentiary hearing

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respecting the Fee Motion if it deems either one or both appropriate

(g) The court may on motion on cr in its own initiative modify any of the above
provisions provided for in this T[VII.Z, including extending the deadlines for filings, and may
issue instructions or orders resolving disputes between plainst and defendants respecting the
process set forth above or for any other purpose respecting this process it deems appropriate
Plaintiffs and defendants may also agree to extend the deadlines for any filings for up to 14 days,
and shall notify the court as to any such agreements promptly after they are reached.

(h) The Agreement shall not constitute an admission by the defendants that the
plaintiffs are prevailing parties on all issues raised in this matter, but only an agreement to pay
plaintiffs the amount of fees as finally determined by the court (after any appeals by defendants

have been exhausted).

VI_II. Exeeution of Agreement

l. The Agreement constitutes the entire agreement and understanding of the parties
with respect to the subject matter contained herein. 'I'he parties hereby declare and represent that
no promise, inducement or agreement not herein expressed has been made.

2. The undersigned counsel represent that they are authorized by their clients,
plaintiffs and defendants here, to enter into the Agreement.

3. This Agreement shall be governed by and construed in accordance with the laws

of the United States and of the State ofMissouri.

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AGREED :

Plaintiffs by:

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One of Plaintift`s’ Attorneys

Defendants by:

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IN THE UNITED S'I‘ATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI, CENTRAL DIVISION

Christine Cemas et ai, )
Plaintiffs, §
v. § No. 2-10-cv-04085-MJW
Keith Schat`er, Director, etc. g
])efendants. §
ORDER
On , 2012, plaintiffs presented an amended motion for certi‘dcation of a

plaintiff class (Doc. ), pursuant to Fed. R. Civ. P. (a), (b){Z) and (c)(l). For settlement purposes
only, defendants have agreed to the certification of a plaintiff class as defined below in 112 below,
though not to the supporting findings set forth in 1[1 below. For settlement purposes only,
defendants also agree that the following attorneys should be appointed as class counsel for the
plaintiff class, pursuant to Fed. 11 Civ. P. 23(g): Kenneth M. Chaclres, Robert E. Lehrer, and
J olin .1 . Amrnann

Based on plaintiffs’ amended motion and the authorities cited or referenced there, and
also on defendants’ agreement as described above, it is hereby ORDERED, ADJUDGED, AND
DECR,EED as follows:

l. The plaintiff class as defined in 1[2 below is so numerous (exceeding 1200
persons) that joinder of all members is impractical, there are questions of law or fact common to
the class, the ciaims of the representative parties ((Christine Comas; Michael Randy Gilmartin,
by his guardian ad litem DeLinda Belanger; Jaymi Srnith; Kirn Smith, by her mother and
guardian Betty Jo Ann Nelson; B. C., by her mother and next friend Joanna Campbell; M. K., by
her mother and next friend Julie Kocher; Alex Cerarne; by his mother and next friend Sheri
Cerame; Sean Cheek; Ann Forbes and Gregory Forbes, husband and wife; Chrystal Buinphrey,
by her mother and legal guardian Jennifer Bumphrey; Greg Mosley; Darren Politte) are typical of
the claims of the plaintiff class, and the representative parties Will fairly and adequately protect
the interests of the class, Further, defendants have acted or reii.lsed to act on grounds that apply
generally to the class, making the relief afforded by the Agreernent appropriate respecting the
class a whole Finaily, based on the declarations submitted to the court in support of plaintiffs’
initial motion for class certification (Doc. 16 by three of plaintiffs’ counsel (Kenneth M.
Chackes, Robert E. Lehrer, and Iohn J. Amrnann), which declarations attest to these attorneys’
extensive experience in the litigation of civil rights cases, including class actions, these three
attorneys are qualified to act as class counsel.

i EXHIBIT A

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2. Pursuant to Fed. R. Civ. P. 23(a) and (b)(Z) and (c), a plaintiff class is certified in
this case, defined as follows:

All persons residing in Missouri on or after April 26, 2005 who: (a) have been,
are, or will be deaf, that is, are persons who because of a hearing loss, are not able
to discriminate speech when spoken in a normal conversational tone regardless of
the use of amplification devices; and (b) have been, are, or will be eligible for
services, from or through the Missouri Department of Mental Health andfor the
Missouri Department of Social Services (including from administrative agents of
DMH), that diagnose mental illness and/or treat it.

3. Pursuant to Fed. R. Civ. P. 23 (g), the following attorneys are appointed as class
counsel for the plaintiff class: Kenneth lv.i. Chaci<es; Robert E. Lehrer; lohn J. Annnann.

ENTER:

Dated:

 

United States Magistrate Judge

Agreed as to Forrn and Content:

 

Plaintiffs by: _
j .
WM Dated: Q~Z/Yf/l~
One of Plai_n_tift`s’ Attorney_s
Defendants by:

      

Defend w
[\)i(_j Dated: &/ / O/ / 31-

Ebrney for ihe DSS Defendants

ttorney for the DM H Dated: Z/l 0 / / 2-

   

 

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IN THE UNITED STATES DISTRIC'I` COURT
WESTERN DISTRIC'I` OF MISSOURI, CENTRAL DIVISION

Christine Comas et a], )
Plaintiffs, §
v. § No. 2-10~cv~04085-MJW
Keith Schafer, Direetor, etc. §
Defendants. §
OR])ER

This Order is entered following the conduct of the fairness hearing provided for under
Fed. R. Civ. P. 23(e) and notice to the plaintiff class also provided for under that provision, and
pursuant to the parties’ Settlement Agreement (“Agreement” , executed on , 2012; Fed.
R. Civ. P. 23(e); Fed. R. Civ P. 41(a)(2); plaintiffs’ motion to dismiss their claims pursuant to
Fed. R Civ. P. 4l(a)(2).

It is hereby ORDERED, ADJUDGED, AND DECREED as follows:

- l. The court has jurisdiction over this case pursuant to 28 U.S.C. §§1331,
1343(3)(4), and venue is proper in the Western District of Missouri pursuant to 28 U.S.C. §1391.

2. The settlement of all of plaintiffs’ claims and their voluntary dismissai, pursuant
to the Agreer_nent, is approved as fair, reasonable and adequate, pursuant to Fed. R. Civ P.

23(¢)(2).

3` Plaintiffs’ motion to dismiss all their claims against defendants, pursuant to Fed.
R. Civ. P. 4l(a)(2) is granted and all such claims are dismissed pursuant to that provision, such
dismissal barring plaintiffs from reopening any issue resolved by the Agreement, which the court
hereby retains jurisdiction to enforce, and plaintiffs being permitted to enforce the Agreement
only insofar as specifically authorized by the Agreement, which is incorporated into this Order.

ENTER:
Dated:

 

United States Magistrate iudge

i EXH[BIT B

 

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